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1    MATTHEW R. OAKES
     CHERYL MACKAY
2    United States Department of Justice
     Environment and Natural Resources Division
3    Law and Policy Section
           Ben Franklin Station, P.O. Box 7415
4          Washington, D.C. 20044
           (202) 514-2686
5          (202) 514-4231 (fax)
6    Counsel for the United States

7                           UNITED STATES DISTRICT COURT

8                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                 SOUTHERN DIVISION
9
     GARY LUNSFORD,                         Case No. 2:16-cv-08373-PA
10
              Plaintiff,                    UNITED STATES’ MOTION TO
11            v.                            INTERVENE FOR THE LIMITED
                                            PURPOSE OF ADDRESSING ENTRY
12   ARROWHEAD BRASS                        OF PROPOSED CONSENT
     PLUMBING and ARROWHEAD                 JUDGMENT
13   BRASS & PLUMBING, LLC
                                            Date: July 16, 2018
14            Defendants.
                                            Time: 1:30 PM
15                                          Location: First Street Courthouse,
                                            350 W. 1st St., Courtroom 9A,
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                                            Complaint Filed: November 10, 2016
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1          The United States hereby moves the Court pursuant to Federal Rule of Civil

2    Procedure 24(b)(2) for leave to intervene for the limited purpose of addressing

3    entry of the proposed consent judgment in this matter.

4          Federal Rule 24(b)(2) provides for permissive intervention by “a state or

5    federal officer or agency to intervene if a party’s claim or defense is based on: (A)

6    A statute or executive order administered by the officer or agency.” The

7    Environmental Protection Agency administers the Clean Water Act, which is the

8    basis for plaintiff’s claim in this matter.

9          Federal Rule 24(b)(3) provides for the court to consider, in exercising its

10   discretion to grant intervention, “whether the intervention will unduly delay or

11   prejudice the adjudication of the original party’s rights.” The Clean Water Act

12   provides that “no consent judgment shall be entered in an action in which the

13   United States is not a party prior to 45 days following the receipt of a copy of the

14   proposed consent judgment by the Attorney General and the Administrator.” 33

15   U.S.C. 1365(c)(3). As this provision demonstrates, Congress intended that the

16   United States should have the opportunity to review proposed consent judgments

17   in Clean Water Act citizen suits, and object if necessary. See Sierra Club v. Elec.

18   Controls Design, Inc., 909 F.2d 1350, 1352 n.2 (9th Cir.1990) (explaining that if

19   the United States “finds that the proposed judgment is not in accordance with the

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1    Act, the United States can object” to entry of the consent judgment). As set forth

2    in the accompanying brief, the United States’ seeks to intervene in order to address

3    the adequacy of the proposed consent judgment in this matter, and takes the

4    position that the consent judgment should not be entered. Because the United

5    States is fulfilling a statutory function prescribed by Congress, intervention will

6    not lead to undue delay or prejudice, and should be granted.

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8                                            Respectfully submitted,
9
                                               /s/ Matthew R. Oakes       .
10                                           Matthew R. Oakes, Attorney
                                             Cheryl Mackay, Attorney
11                                           United States Department of Justice
                                             Environment and Natural Resources
12                                           Division
                                             Law and Policy Section
13                                           P.O. Box 7415
                                             Washington, D.C. 20044
14                                           (202) 514-2686

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2                                    PROOF OF SERVICE


3    On this 18th day of June 2018, UNITED STATES’ MOTION TO INTERVENE
     FOR LIMITED PURPOSE OF ADDRESSING ENTRY OF PROPOSED
4    CONSENT JUDGMENT was served on counsel of record by electronic filing.

5
     I declare under penalty of perjury that the foregoing is true and correct.
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7    Executed on the 18th day of June, 2018.

8
                                               /s/ Matthew R. Oakes        .
9                                            Matthew R. Oakes, Attorney
                                             United States Department of Justice
10                                           Environment and Natural Resources
                                             Division
11                                           Law and Policy Section
                                             P.O. Box 7415
12                                           Washington, D.C. 20044
                                             (202) 514-2686
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